Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ALABAMA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Rolta International, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  725 Adams St. SE
                                  Huntsville, AL 35801
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Madison                                                         Location of principal assets, if different from principal
                                  County                                                          place of business
                                                                                                  5865 North Point Parkway, Ste # 300 Alpharetta,
                                                                                                  GA 30022
                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Rolta International, Inc.                                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                   debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                      Debtor                                                                     Relationship
                                                 District                                 When                              Case number, if known


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Debtor   Rolta International, Inc.                                                                 Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 29, 2020
                                                  MM / DD / YYYY


                             X   /s/ Preetha Pulusani                                                     Preetha Pulusani
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   President International Operations




18. Signature of attorney    X   /s/ Stuart M. Maples                                                      Date October 29, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Stuart M. Maples
                                 Printed name

                                 Maples Law Firm, PC
                                 Firm name

                                 200 Clinton Ave. West, Ste 1000
                                 Huntsville, AL 35801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (256) 489-9779                Email address



                                 Bar number and State




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Loretta Lynch US Attorney General       Alvarez & Marsal North America, LLC   Global PTM, Inc.
US Dept. of Justice                     540 West Madison St                   435 East North Street
950 Pennsylvania Ave NW                 Suite 1800                            PO Box 302
Washington, DC 20530                    Chicago, IL 60661                     Greenville, SC 29615



Luther Strange                          American Express                      Health Care Service Corporation
Alabama Attorney General                PO Box 1270                            25550 Network Place
PO Box 300152                           Newark, NJ 07101-1270                 Chicago, IL 60673
Montgomery, AL 36130



Joyce White Vance                       Bank of America                       Holland & Knight LLP
US Attorney General                     PO Box 15284                           PO Box 864084
1801 4th Ave North                      Wilmington, DE 19850                  Orlando, FL 32886-4084
Birmingham, AL 35203



Internal Revenue Service                Citicorp International Limited        Huron Consulting Services LLC
Centralized Insolvency Operations       39/F Citibank Tower                   550 W. Van Buren Street
PO Box 7346                             Garden Road, Central Hong Kong        Chicago, IL 60607
Philadelphia, PA 19101



State of Alabama                        Data Glove Inc DBA Trimax Americas    IBM Corporation
Department of Revenue Legal Division    Trimax Americas 125 Village Blvd      P.O. Box 534151
PO Box 320001                           Suite 27                              Atlanta, GA 30353-4151
Montgomery, AL 36132                    Princeton, NJ 08540



Pala Assets Holdings Ltd.               Deutsche Bank Trust Company Americas Isoture Pty Ltd
White & Case LLP                        c/o Deutsche Bank National Trust Company
                                                                               Level 26, 1 Bligh Street
1221 Avenue of the Americas             100 Plaza One Mailstop JCY03-0699      Sydney NSW 2000 Australia AU
New York, NY 10020                      Jersey City, NJ 07311



State of Ohio Treasurer                 Docufree Corporation                  Lanier Ford Shaver & Payne P.C.
 150 East Gay Street 21st Floor         1175 Northmeadow Parkway, Suite 140   2101 West Clinton Ave
Columbus, OH 43215                      Roswell, GA 30076                     Suite 102
                                                                              Huntsville, AL 35805



Active Soft Inc                         EPIKENTRON, LLC                       M&D Enterprise Ventures
1301 Reynolds Ridge Cir Suite 2B        40811 Mission Blvd                    1737 Chateau Dr
Greensboro, NC 27409-9824               Fremont, CA 94539                     Atlanta, GA 30338




AdvizeX Technologies                    ESRI                                  Maples Law Firm, PC
RAX Integration AP                      380 New York Street                   200 Clinton Ave W
6480 Rockside Woods Blvd Suite 190      Redlands, CA 92373-8100               Suite 1000
Independence, OH 44131                                                        AL 35081


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Merrill Communications LLC              Rolta LLC                              Geoffrey J. Derrick
PO Box 74007252                         5865 NorthPoint Parkway                Kobre & Kim LLP
Chicago, IL 60674                       Alpharetta, GA 30022                   1919 M Street, NW
                                                                               Washington, DC 20036



Paychex                                 Rolta Saudi Arabia Ltd                 Jacob R. Kirkham
970 Lake Carillon Drive Suite 400       PO Box No. 68371                       600 North King Street
Saint Petersburg, FL 33716              Riyadh 11527 SA                        Suite 501
                                                                               Wilmington, DE 19801



Project Partners, LLC                   ROLTA UK LTD                          Jeremy Bressman
520 Purissima Street                    100 Longwater Avenue Green Park Reading
                                                                              Yigal Alon Street 94,Tower One 21Fl
Half Moon Bay, CA 94019                 RG2 6GP United Kingdom GB              Tel Aviv, 6789139 Israel




RAX Integration AP                      SAP Technology Solutions, Inc.         John Han
6480 Rockside Woods Blvd Suite 190      507 W Torrey Pines Way                 ICBC Tower, 6th Floor 3 Garden R
Independence, OH 44131                  Vernon Hills, IL 60061                 Central, Hong Kong




Reliable Software Resources, Inc.       Selectek, Inc                          Josef Klazen
22260 Haggerty Rd Suite 285             2015 Vaughn Rd                         Kobre & Kim, LLP
Northville, MI 48167                    Suite 130                              800 Third Avenue
                                        Kennesaw, GA 30144                     New York, NY 10022



RingCentral Inc                         Siri & Glimstad LLP                    Rolta Canada Ltd.
Dept. CH 19585                          200 Park Avenue                        5865 North Point Pkwy
Palatine, IL 60055                      Seventeen Floor                        Alpharetta, GA 30022
                                        New York, NY 10166



Rolta Americas, LLC                     Standard Office Systems                Rolta India Limited
5865 North Point Pkwy                   2475 Meadowbrook Pkwy                  5865 North Point Pkwy
Alpharetta, GA 30022                    Duluth, GA 30096                       Alpharetta, GA 30022




Rolta Canada Ltd.                       Syndicated Bank - UK                   Rolta Saudi Arabia Ltd
590 Alden Road, Suite 209               UK King William House 2A Eastcheap     5865 North Point Pkwy
Markham, Ontario L4B3M3 CA              London EC3M 1LH United Kingdom GB      Alpharetta, GA 30022




Rolta India Limited                     THE TRAVEL UNIVERSE                    ROLTA UK LTD
 Rolta Tower A, Rolta Technology Park MI3520 Brickenridge Blvd Suite 112       5865 North Point Pkwy
MIDC, Andheri (East)    India           Duluth, GA 30096                       Alpharetta, GA 30022



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                                                                     Northern District of Alabama
 In re      Rolta International, Inc.                                                                         Case No.
                                                                                   Debtor(s)                  Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Rolta International, Inc. in the above captioned action, certifies that the following is
a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any
class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 29, 2020                                                     /s/ Stuart M. Maples
 Date                                                                 Stuart M. Maples
                                                                      Signature of Attorney or Litigant
                                                                      Counsel for Rolta International, Inc.
                                                                      Maples Law Firm, PC
                                                                      200 Clinton Ave. West, Ste 1000
                                                                      Huntsville, AL 35801
                                                                      (256) 489-9779 Fax:(256) 489-9720




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